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DJW/2

                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                                 Plaintiff,           CRIMINAL ACTION
        v.
                                                      Case No. 09-cr-20005-KHV-DJW-5
LUIS LOZANO-MIRANDA,

                                 Defendant.


                                  MEMORANDUM AND ORDER

        On January 7, 2009, a grand jury charged Defendant Luis Lozano-Miranda, as well as four

other defendants, with knowingly and unlawfully combining, conspiring, and agreeing with each

other, and with other persons, both known and unknown to the grand jury, to distribute and possess

with intent to distribute 500 grams or more of a mixture and substance containing methamphet-

amine, a controlled substance.1 This matter is before the Court on the Government’s Oral Motion

for Pretrial Detention of Defendant Luis Lozano (doc. 16) made on December 31, 2008. On January

6, 2009, the Court held a hearing on the government’s Motion. The Court has considered the

Motion and the statements of counsel during the January 6, 2009 hearing before Magistrate Judge

David J. Waxse, and, for the reasons set forth below, finds that the Motion should be denied and

Defendant should be released subject to certain conditions to be determined at a future hearing.

                                       Standards for Detention

        Under the Bail Reform Act of 1984, 18 U.S.C. § 3141, et seq., the court must order the

pretrial release of the accused, with or without conditions, unless the court “finds that no condition


        1
            See Indictment (doc. 29), 1.
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or combination of conditions will reasonably assure the appearance of the person as required and

the safety of any other person and the community . . ..”2 In making this determination, the court

must consider several factors:

       (1) the nature and circumstances of the offense charged;

       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person; and

       (4) the nature and seriousness of the danger to any person or the community that
       would be posed by the person’s release.3

       The government has the burden to prove the risk of flight by a preponderance of the

evidence.4 The government must prove a danger to other persons or the community by clear and

convincing evidence.5 If the Court finds probable cause to believe that Defendant committed an

offense for which a maximum term of imprisonment of ten years or more is prescribed in the

Controlled Substances Act, 21 U.S.C. § 801, et seq., then a rebuttable presumption arises that no

condition or combination of conditions will reasonably assure the appearance of Defendant and the

safety of the community.6 The Court must resolve all doubts regarding the propriety of release in

Defendant’s favor.7

                                               Analysis


       2
           18 U.S.C. § 3142(e).
       3
           See 18 U.S.C. § 3142(g).
       4
           See U.S. v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003) (citations omitted).
       5
           See id. (citing 18 U.S.C. § 3142(f)).
       6
           See 18 U.S.C. §§ 3142(e)(3), 3142(f)(1).
       7
           See U.S. v. Chavez-Rivas, 536 F.Supp.2d 962, 965 (E.D. Wis. 2008).

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I.     Nature and Circumstances of the Offense

       Defendant, along with the four other defendants, is charged with knowingly and unlawfully

combining, conspiring, and agreeing with each other, and with other persons, both known and

unknown to the grand jury, to distribute and possess with intent to distribute 500 grams or more of

a mixture and substance containing methamphetamine, a controlled substance.8 If convicted,

Defendant could face a prison term of not less than 10 years and not more than life imprisonment.9

The Court finds that there is probable cause to believe that Defendant committed an offense for

which a maximum term of imprisonment of ten years or more is prescribed in the Controlled

Substances Act. Consequently, there is a rebuttable presumption that no condition or combination

of conditions will reasonably assure the appearance of Defendant and the safety of the community.10

       However, the Court concludes that Defendant has sufficiently rebutted this presumption. To

rebut the presumption, Defendant need only meet a burden of production by coming forward with

some evidence that if released he will not flee or endanger the community.11 The Court finds that

Defendant has provided some evidence that if he is released he will not flee or endanger the

community. The Court therefore considers this factor to be neutral.



II.    Weight of the Evidence



       8
           See Indictment (doc. 29), 1.
       9
           See 21 U.S.C. § 841(b)(1)(A)(viii).
       10
            See 18 U.S.C. § 3142(e)(3).
       11
           See U.S. v. Portes, 786 F.2d 758, 764 (7th Cir. 1985) (“court may factor the presumption
into its determination of whether the government has established that no condition or combination
of conditions would reasonably assure appearance and ensure the safety of the community”).

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        The Court finds that while the record contains some evidence that Defendant knowingly and

unlawfully combined, conspired, and agreed with the other defendants, and with other persons, both

known and unknown to the grand jury, to distribute and possess with intent to distribute 500 grams

or more of a mixture and substance containing methamphetamine, that evidence is not so

overwhelming that it must weigh in favor of detention. This factor is neutral.

III.    History and Characteristics of Defendant

        It appears to the Court that Defendant is 21 years old and is a citizen of Mexico. Defendant

moved to the Kansas City area from Mexico in 2004. Defendant is in the United States illegally,

and Immigration and Customs Enforcement (“ICE”) has lodged a detainer on Defendant with the

U.S. Marshals Service.

        Defendant has strong family ties in both Kansas City, Kansas and Mexico. After coming to

the Kansas City area in 2004, Defendant appears to have attended Wyandotte High School for a

short period of time. Defendant’s father resides in Mexico, his mother is deceased, and he has eight

sisters and five brothers. Four of Defendant’s sisters and one of Defendant’s brothers reside in

Kansas City, Kansas. One of his sister’s is a co-defendant in this case and is currently incarcerated,

and two of Defendant’s brothers are currently incarcerated in CCA, Leavenworth, Kansas in an

unrelated matter. Three of Defendant’s sisters and one of his brothers reside in Mexico. One of

Defendant’s brothers resides in Seattle. Defendant appears to maintain a good relationship with all

of his siblings.

        Defendant claims he has resided at his current residence in Kansas City, Kansas for two

years. Defendant and his wife were married in Mexico in June of 2005, and they moved to Kansas

City, Kansas in December of 2005. It appears that Defendant and his wife went to Mexico for 7


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months in April of 2008 and they returned to Kansas City, Kansas in October of 2008, where they

have resided at Defendant’s sister’s residence. Defendant shares his current residence with his wife,

his two children, his sister, his sister’s three children, his brother, and his cousin. If released,

Defendant’s sister advises that he may reside with her. The record does not suggest that Defendant’s

relationship with family members in Mexico would lead him to flee from Kansas City, Kansas where

is wife and two young children reside.

        Before his arrest, Defendant worked 40 or more hours per week at a restaurant in Kansas

City, Kansas as a cook and a waiter since 2004. If released, Defendant may return to work at this

restaurant.

       Defendant was charged with fraud, misuse of a visa, entry of an alien at an improper time

or place, and alien inadmissibility on September 30, 2008 by ICE in San Ysidro, California. The

arrest reportedly occurred while Defendant and his wife were visiting family members of

Defendant’s wife in California. According to ICE officials, Defendant was voluntarily returned to

Mexico on July 25, 2006 and October 5, 2008 and he was deported on expedited removals on

September 30, 2008 and October 4, 2008. ICE reports that Defendant has been barred from the

United States for 20 years.

       While a defendant’s status as a deportable alien alone does not mandate detention, it is a

factor which weighs heavily in the risk of flight analysis.12 The government argues that Defendant

is a risk of flight because he has an ICE detainer13 and has lived illegally in the United States since


       12
            See Chavez-Rivas, 536 F.Supp.2d at 964 n. 3 (citations omitted).
       13
           The Court further notes that the existence of the ICE detainer is not in and of itself
sufficient grounds to find that Defendant poses a flight risk. Under 8 C.F.R. § 215.2, “No alien shall
                                                                                        (continued...)

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2004. The Court finds that the government has not carried its burden in this regard. While there is

some risk of flight with Defendant, based on his status as a deportable alien, his strong family ties

to Kansas City, Kansas and his limited criminal record suggest that conditions of release could be

set to reasonably assure Defendant’s presence at trial.14

IV.    Danger to the Community

       The Defendant has a very limited criminal history and no history of any violent crime. The

government has not shown that Defendant poses any risk of danger to the community or other

persons. Thus, the Court finds that this factor weighs in favor of pretrial release.

                                            Conclusion

       Having considered all relevant pleadings and the statements of counsel during the January

6, 2009 hearing, the Court finds that Defendant should be released. As set out above, under the Bail

Reform Act, the Court must order the pretrial release of Defendant, with or without conditions,

unless the Court “finds that no condition or combination of conditions will reasonably assure the

appearance of the person as required and the safety of any other person and the community . . ..”15

Based on the relevant pleadings and the statements of counsel during the hearing, the Court



       13
          (...continued)
depart, or attempt to depart, from the United States if his departure would be prejudicial to the
interests of the United States . . ..” The departure of an “alien who is needed in the United States
as . . . a party to[] any criminal case . . . pending in a court in the United States” is deemed
prejudicial to the interests of the United States. 8 C.F.R. § 215.3. The departure of such a criminal
defendant alien may be temporarily prevented under 8 C.F.R. § 215.3, which provides that the
criminal defendant alien “may be permitted to depart from the United States with the consent of the
appropriate prosecuting authority, unless such alien is otherwise prohibited from departing under
the provisions of this part.” (emphasis added).
       14
        See Chavez-Rivas, 536 F.Supp.2d at 969 (strong family ties provide some assurance that
Defendant will not flee if released to live with his family).
       15
            18 U.S.C. § 3142(e).

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concludes that the government has not met its burden to show that no set of conditions of release

will assure Defendant’s pretrial presence and protect the community and other persons from danger.



       IT IS THEREFORE ORDERED that the Government’s Oral Motion for Pretrial Detention

of Defendant Luis Lozano (doc. 16) is denied. Defendant shall be released subsequent to a hearing

to determine the conditions of Defendant’s release.

       IT IS FURTHER ORDERED that a hearing to set the conditions of Defendant’s pretrial

release shall be held on January 16, 2009, at 11:30 a.m.

       IT IS SO ORDERED.

       Dated in Kansas City, Kansas on this 15th day of January 2009.

                                                      s/ David J. Waxse
                                                      David J. Waxse
                                                      U.S. Magistrate Judge

cc: All counsel and pro se parties




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